              Case 1:07-cr-00016-AWI Document 86 Filed 01/22/09 Page 1 of 1


1
2
3
4
5
6
7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) 1:07-cr-0016 AWI
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            ) ORDER ON STIPULATION
                                        )
14                                      )
     JUAN LUIS ALEMAN, and              )
15   JOSE RANGEL-GARCIA,                )
                                        )
16                  Defendants.         )
     __________________________________ )
17
18        Having read and considered the parties’ stipulation to
19   continue the current sentencing hearing date of January 26, 2009,
20   to March 9, 2009, in this matter,
21        IT IS THE ORDER of the Court that the current sentencing
22   date is hereby continued to March 9, 2009, at 11:00 a.m.
23
     IT IS SO ORDERED.
24
     Dated:   January 21, 2009                /s/ Anthony W. Ishii
25   0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
26
27
28

                                            1
